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                               UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         PRETRIAL ORDER NO. 320: ORDER
                                                     GRANTING MONSANTO’S MOTION
   Bowe v. Monsanto Co.,                             TO EXCLUDE EXPERT ASHRAF AND
   Case No. 3:22-cv-01229-VC                         MOTION FOR SUMMARY
                                                     JUDGMENT
   Yoder v. Monsanto Co.,                            Re: Dkt. No. 20073
   Case No. 3:22-cv-03140-VC


         Monsanto’s motion to exclude the testimony of Dr. Khaleel Ashraf is granted. This ruling

assumes the reader’s familiarity with the facts, the applicable legal standard, the prior Daubert

rulings in this MDL, and the arguments made by the parties. See generally In re Roundup

Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order No. 45, Dkt.

No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp. 3d 956 (N.D. Cal. 2019)
(Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto Company, 997 F.3d 941 (9th Cir.

2021).

         Ashraf’s opinions in these two cases have similar flaws to those discussed in Pretrial

Order No. 314. See Dkt. No. 20341. Among other issues, Ashraf failed to investigate Bowe and

Yoder’s exposure to other pesticides. In both cases, his report noted the plaintiffs were exposed

to other pesticides, but did not identify the pesticides or describe how significant the exposures

were. See Ashraf Report (Yoder) (Dkt. No. 20073-5) at 18–19; see also Ashraf Report (Bowe)
(Dkt. No. 20073-4) at 22–23. At deposition, he admitted that at least some of the ingredients in
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other pesticides the plaintiffs were exposed to (including non-Roundup glyphosate products and

2,4-D) have epidemiological associations with NHL. See Ashraf Dep. (Yoder) at 120:20–24. But

it’s clear from Ashraf’s deposition testimony that he developed no familiarity with those

products, did not meaningfully examine the plaintiffs’ exposure to those products, and thus

utterly failed to conduct a meaningful analysis of whether they were more or less likely to have

caused the plaintiffs’ NHL than Roundup. Indeed, Ashraf did not even seem to know, before the

depositions, that some of the other products contained glyphosate and were not produced by

Monsanto. Ashraf Dep. (Bowe) (Dkt. No. 20073-6) at 85:24–86:11. Therefore, his testimony is

excluded.

       With Ashraf’s exclusion, the plaintiffs do not have admissible expert testimony on

specific causation. Therefore, Monsanto’s motion for summary judgment is granted.

       IT IS SO ORDERED.

Dated: March 26, 2025
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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